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            EXHIBIT E
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )         Chapter 11
                                                                   )
    CRED INC., et al.,                                             )         Case No. 20-12836 (JTD)
                                                                   )
                                       Debtors. 1                  )         (Jointly Administered)
                                                                   )
                                                                   )         Re: Docket Nos. 10

                       INTERIM ORDER (I) AUTHORIZING DEBTORS TO
                 (A) MAINTAIN INSURANCE POLICIES, (B) PAY ALL RELATED
                     OBLIGATIONS, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the debtors and debtors in possession (the

“Debtors”) for entry of an order (this “Interim Order”), pursuant to sections 105(a) and 363 of

title 11 of the United States Code (the “Bankruptcy Code”), authorizing, but not directing, the

Debtors (a) to continue their Insurance Policies on an uninterrupted basis in accordance with the

same practices and procedures in effect prior to the Petition Date, and renew its Insurance

Policies or obtain replacement coverage, as needed in the ordinary course of business, without

further approval of the Court; and (b) satisfy, in its sole discretion, all payment obligations

related to the Insurance Policies whether they arose before or after the Petition Date, all as more

fully set forth in the Motion; and the Court having jurisdiction over this matter pursuant to 28

U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2), and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in



1
      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number,
      as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred
      Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East
      Third Avenue, Suite 200, San Mateo, California 94401.
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      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
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this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no

other notice need be provided; and the Court having reviewed the Motion; and the Court having

held a hearing to consider the relief requested in the Motion on an interim basis (the “Hearing”);

and upon the First Day Declaration, filed contemporaneously with this Motion, and the record of

the Hearing; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and it appearing that the relief requested

in the Motion is necessary to avoid immediate and irreparable harm to the Debtors and their

estates as contemplated by Bankruptcy Rule 6003, and is in the best interests of the Debtors,

their estates, creditors, and all parties in interest; and upon all of the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY ORDERD THAT:

        1.      The Motion is granted on an interim basis to the extent forth herein.

        2.      The Debtors are authorized, but not directed, to continue the Insurance Policies

and, in their sole discretion, pay and honor any prepetition amounts outstanding under, or

postpetition obligations related to the Insurance Policies in the ordinary course of business and to

pay any prepetition amounts due in connection therewith; provided, that the Debtors are

authorized, but not directed, to pay or honor only amounts or obligations that are or become due

and payable between the Petition Date and the date that a final order on the Motion is entered

(such period, the “Interim Period”), unless otherwise ordered by the Court; provided further,




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that the aggregate amount of any such prepetition amounts paid or honored during the Interim

Period shall be limited to $25,000.

        3.      The Debtors are authorized, but not directed, to renew, amend, supplement,

extend, or purchase insurance policies to the extent that the Debtors determine, in their sole

discretion, that such action is in the best interest of their estates.

        4.      Nothing contained in the Motion or this Interim Order, nor any action taken

pursuant to the authority granted by this Interim Order, shall constitute or be construed as (a) an

admission as to the amount of, basis for, or validity of any claim against the Debtors under the

Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ rights to

dispute any claim on any grounds; (c) a promise or requirement to pay any prepetition claim; (d)

an assumption, adoption, or rejection of any agreement, contract, or lease under section 365 of

the Bankruptcy Code; (e) an admission as to the validity, enforceability, or perfection of any lien

on, security interest in, or other encumbrance on property of the Debtors’ estates; (f) a waiver of

any claims or causes of action which may exist against any entity; or (g) a waiver or limitation of

the Debtors’ rights under the Bankruptcy Code or any other applicable law.

        5.      Nothing herein shall create, nor is intended to create, any rights in favor of or

enhance the status of any claim held by any party.

        6.      The banks and financial institutions on which electronic payment requests made

in payment of the prepetition obligations approved herein are authorized to receive, process,

honor, and pay all such electronic payment requests when presented for payment, and all such

banks and financial institutions are authorized to rely on the Debtors’ designation of any

particular check or electronic payment request as approved by this Interim Order without any

duty of further inquiry.



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       7.        The Debtors are authorized to effect postpetition fund transfer requests, in

replacement of any fund transfer requests that are dishonored as a consequence of these chapter

11 cases with respect to prepetition amounts owed in connection with the Insurance Policies.

       8.        The requirements of Bankruptcy Rule 6003(b) have been satisfied.

       9.        Under the circumstances of these chapter 11 cases, notice of the Motion is

adequate under Bankruptcy Rule 6004(a).

       10.       Notwithstanding Bankruptcy Rule 6004(h), this Interim Order shall be

immediately effective and enforceable upon its entry.

       11.       The Final Hearing shall be held on December 9, 2020, at 2:00 p.m. (ET) and any

objections or responses to the Motion shall be in writing, filed with the Court, and served in

accordance with the Local Rules.

       12.       This Interim Order is effective only from the date of entry through this Court’s

disposition of the Motion on a final basis; provided that the Court’s ultimate disposition of the

Motion on a final basis shall not impair or otherwise affect any action taken pursuant to this

Interim Order.

       13.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order.

       14.       The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Interim Order.




                                                           JOHN T. DORSEY
       Dated: November 10th, 2020                          UNITED STATES BANKRUPTCY JUDGE
       Wilmington, Delaware
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